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       Case 3:16-cv-02287-BAS-JLB Document      1 Filed    09/06/16 PageID.1 ..Page 1 of 29
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    -..- ._. - -- .---- -"- -    --        - -- - - - -.....'-..;"io-
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                                                                   . -- ~..~>........ , '                .                          :-<;    I   ~   . -::"'"'1

            Demetrius Sis sac
        NAME                                                                                           FILED
            AR3472
        PRISON NUMBER                                                                                        SEP - ~ 2015
            Calipatria State Prison                                                             CU-. HK I JS ' l!SII,iC: "'; -. . ; !Hr
       CURRENT ADDRESS OR PLACE OF CONFINEMENT                                           sou I HI' '';-' DIS I HIC I C'+ C"III-CIINIA
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            Calipatria, CA 92233-5004
       CITY • STATE. ZIP CODE .
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                                                                                                                           .... IIOTION PlUl:D
                                       UNITED STATES DISTRlCT COURT                                                         '¥. . / !'I.
                                             SOUTHERN DISTRICT OF CALIFORNIA                                                 COPUS !&NT TO
                                                                                                                           c-t..L ......_

           Demetrius Sissac                                            Civil No
                                                                                        '16CV2287 BAS JLB
     (FULL NAME OF PETITIONER)                                                          (To IE I"lU-ED IN BY ClonIC. 0' u.s. OLSTltlCf COUIT)

                                                   PETITIONER

                                      v.

           W. L. Montgomery
    ( N"."H[ OF WARDEN , SU PERINTENDENT. JAILOR. OR AUTHORIZED
                                                                       PETITION FOR WRIT OF HABEAS CORPUS
    PERSON HAVING CUSTODY OF PETITIONER [E.G., DIRECTOR OF THE
    CALIFORNIA DEPARTMENT OF COR.R..Ecr)ONSJ)



                                                  RESPONDENT                            UNDER 28 U.S.C . § 2254
                                  and                                                BY A PERSON IN STATE CUSTODY

         Kamala D. Harris
    The Attorney General of the State of
    California, Additional Respondent.




       1.    Name and location o'f the court that entered the judgment of conviction under attack: _ __
               San Diego, East County Division, Superior Court 17

      2.     Date of judgment of conviction: _...:06:..:.:../-=2.:::
                                                                 8/:..:2:.:0:.:1::3~_ _ _ _ _ _ _ _ _ _ _ _ _ __
      3.     Trial court case number of the judgment of conviction being challenged: SCE315928


      4.     Length 0 f sentence: _..:F:.,:o;::r:.,:t:!.Y-Ly.:e:::a:.r::.s_t:.:o=-:L=i::f.:e~_ _ _ _ _ _ _ _ _ _ _ _ _ _ __



I   elv 68 (Rc:v Jan. 2006)
      Case 3:16-cv-02287-BAS-JLB Document 1 Filed 09/06/16 PageID.2 Page 2 of 29




        5.    Sentence start date and projected release date:        8/16/13 to BP Hearing 11/2/2016


        6.    Offense(s) for which you were convicted or pleaded guilty (all counts): PC 187 (a) Second
               Degree Murder with Allegations PC 12022.53(b),(c) and (d) _______ _____


        7.    What was your plea? (Check one)
                (a) Not guilty           30

                (b) Guilty
                                          □
                (c) Nolo contendere       □
       8.     If you pleaded not guilty, what kind of trial did you have? (Check one)
                (a) Jury       30
                (b) Judge only □
       9.    Did you testify at the trial?
             □ Yes 3<® No

                                           DIRECT APPEAL
       10. Did you appeal from the judgment of conviction in the California Court of Appeal?
           EFYes □ No

       11. If you appealed in the California Court of Appeal, answer the following:
             (a) Result:    Judgment affirmed             __________ _
             (b) Date of result (if known):      06/10/15
               (c) Case number and citation (if known):           J D064910
               (d) Names of Judges participating in case (if known)

               (e) Grounds raised on direct appeal:       Multiple Evedentiary Ermrs/ Unauthaaticated,
                       Foundationless, unreliable hearsay of purported text messages and purported cell
                       chore activitv/Jmpreper lay opinions of prosecution's primary witnesses.______

       12. If you sought further direct review of the decision on appeal by the California Supreme
           Court (e.g., a Petition for Review), please answer the following:
               (a) Result:            Judgment affirmed
               (b) Date of result (if known):           06/10/15
               (c) Case number and citation (if known): Case No. D064910 Citation S225613

               (d) Grounds raised: Reported (Ml Activity Records Inadmissible lacking ary Foundation
                         nr Ai ifhenti rntion/Stateients in pretext call inadnissible hearsay/Mnissicn of
                         inpxiper lav opinion.

I
    CIV 68 (Rev. Jan. 2006)
                                                           .9
      Case 3:16-cv-02287-BAS-JLB Document 1 Filed 09/06/16 PageID.3 Page 3 of 29



       13. If you filed a petition for certiorari in the United States Supreme Court, please answer the
           following with respect to that petition:
i
               (a) Result:
               (b) Date of result (if known): _
               (c) Case number and citation (if known):


               (d) Grounds raised:




                                COLLATERAL REVIEW IN STATE COURT
       14. Other than a direct appeal from the judgment of conviction and sentence, have you
           previously filed any petitions, applications, or motions (e.g., a Petition for Writ of Habeas
           Corpus) with respect to this judgment in the California Superior Court?
           □ Yes ® No

       15. If your answer to #14 was “Yes,” give the following information:
               (a) California Superior Court Case Number (if known):
               (b) Nature of proceeding:____________________________


               (c) Grounds raised:




               (d) Did you receive an evidentiary hearing on your petition, application or motion?
                   □ Yes □ No
               (e) Result: ________________________ .                       ____________
               (f) Date of result (if known):


       16. Other than a direct appeal from the judgment of conviction and sentence, have you
           previously filed any petitions, applications, or motions (e.g., a Petition for Writ of Habeas
           Corpus) with respect to this judgment in the California Court of Appeal?
           liYes DNo




    CIV 68 (Rev. Jan. 2006)
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I
        Case 3:16-cv-02287-BAS-JLB Document 1 Filed 09/06/16 PageID.4 Page 4 of 29




          17. If your answer to #16 was “Yes,” give the following information:
                  (a) California Court of Anneal Case Number (if known): D064910
                  (b) Nature of proceeding: Petition for Writ of Habeas Corpus
                  (c) Names of Judges participating in case (if known) Judith Mo Connell


                  (d) Grounds raised: Ineffective Assistance of Counsel on all grounds
                        raised in Direct Appeal


                 (e) Did you receive ah evidentiary hearing on your petition, application or motion?
                     □ Yes *0 No
                 (f) Result: Judgment affirmed_____________________ _______________
                 (g) Date of result (if known):     06/10/15


         18. Other than a direct appeal from the judgment of conviction and sentence, have you
             previously filed any petitions, applications, or motions (e.g., a Petition for Writ of Habeas
             Corpus) wkh respect to this judgment in the California Supreme Court?
             □ Yes WbNo

         19. If your answer to #18 was “Yes,” give the following information:
                 (a) California Supreme Court Case Number fif known):
                 (b) Nature of proceeding:________
    :

                 (c) Grounds raised:
    i


    1


    1
    I
                 (d) Did you receive an evidentiary hearing on your petition, application or motion?

                       □ Yes □ No
                 (e) Result:______________
                 (f) Date of result (if known):
    i

    !

    !
    !

    • CIV 68 (Rev. Jan. 2006)
                                                         -4-                                        cv
              Case 3:16-cv-02287-BAS-JLB Document 1 Filed 09/06/16 PageID.5 Page 5 of 29



                20.     If you did not file a petition, application or motion (e.g., a Petition for Review or a Petition
                        for Writ of Habeas Corpus) with the California Supreme Court, containing the grounds
                        raised in this federal Petition, explain briefly why you did not:
        i




                                        COLLATERAL REVIEW IN FEDERAL COURT
               21. Is this your first federal petition for writ of habeas corpus challenging this conviction?
                   13'Yes □ No         (If “Yes” Skip to #22)
    i                 (a) If no,, in what federal court was the prior action filed?___________________ _
                        (i) What was the prior case number?_______________________
                        (ii) Was the prior action (Check One):
                              □ Denied on the merits?
                              □ Dismissed for procedural reasons?
                     . (iii) Date of decision:;
                    “(b) Were any of the issues in this current petition also raised in the prior federal petition?
                            □ Yes □ No
                     (c) If the prior case was denied on the merits, has the Ninth Circuit Court of Appeals
                            given you permission to file this second or successive petition?
i                           □ Yes □ No
i

               Caution:
                  • Exhaustion of State Court Remedies: In order to proceed in federal court you must
                    ordinarily first exhaust your state court remedies as to each ground on which you request
                    action by the federal court. This means that even if you have exhausted some grounds by
                    raising them before the California Supreme Court, you must first present all other grounds
                    to the California Supreme Court before raising them in your federal Petition.
i                     • Single Petition: If you fail to set forth all grounds in this Petition challenging a specific
i                       judgment, you may be barred from presenting additional grounds challenging the same
                        judgment at a later date.
                      • Factual Specificity: You must state facts, not conclusions, in support of your grounds. For
                        example, if you are claiming incompetence of counsel you must state facts specifically
                        setting forth what your attorney did or failed to do. A rule of thumb to follow is — state who
                      ■ did exactly what to violate your federal constitutional rights at what time or place.




            CIV 68 (Rev. Jan. 2006)
                                                                  -5-                                         c\»
    Case 3:16-cv-02287-BAS-JLB Document 1 Filed 09/06/16 PageID.6 Page 6 of 29


                                               GROUNDS FOR RELIEF
     22. State concisely every ground on which you claim that you are being held in violation of
         the constitution, law or treaties of the United States. Summarize briefly the facts
         supporting each ground, (e.g. what happened during the state proceedings that you contend
         resulted in a violation of the constitution, law or treaties of the United States.) If necessary,
         you may attach pages stating additional grounds and/or facts supporting each ground.

             (a) IflitUtk'UIUOloi:
                                       THE SYNERGISTIC EFFECT OF TRIAL COUNSEL'S HANDLING OF
           THE MULTIPLE SERIOUS EVIDENTIARY ERRORS COMPELS REVERSAL. EVEN IF THE
           INDIVIDUAL EFFECT OF EACH ERROR DOES NOT COMPEL REVERSAL.
           Supporting FACTS: Most of the issues in this case come from the purported
            records of cell phone activity between Petitioner, Devin, Glenn and Roy
           after the alleged shooting incident occured. The prosecution relied
           heavily on this evidence to persuade the jury to convict Petitioner of
            murder. However; the prosecution failed to properly authenticate or lay a
            foundation for the purported records of cell phone activity. Beyond that,
            even if the records were considered true and accurate, the sttements them­
            selves were inadmissible unreliable hearsay. The introduction of this
            evidence brings up multiple reversible errors, which are addressed in
            Grounds II and III. Also,, the purported statements in the pretext call
                      inadmissible unreliable hearsay. This error is brought up in ground
            were
             TV.      To add to these many errors, the prosecution's primary witnesses

            were      allowed to issue improper lay opinions on the ultimate factual and
            legal issues the; jury was to decide, bringing up the last error in Ground
             5. Trial counsel failed to properly challenge this evidence so as to
                      its admission in the first instance and to preserve Petitioner's
             -prevent
             right to challenge the admission of the evidence on appeal, which (CON T)
!         Did you raise Ground Onf, in the California Supreme Court?
              Yes □ No.
                If yes, answer the following:
                (1)     Nature of proceeding (i.e., petition for review, habeas petition): Petition For Review
                (2)     Case number or citation:                 3225613

                (3)     Result (attach a copy of the court’s opinion or order if available):   Denied




    CIV 6S (Rev Jan. 2006)
                                                           -6-                                      cv
        Case 3:16-cv-02287-BAS-JLB Document 1 Filed 09/06/16 PageID.7 Page 7 of 29


                                                   GROUNDS FOR RELIEF
         22. State concisely every ground on which you claim that you are being held in violation of
             the constitution, law or treaties of the United States. Summarize briefly the facts
             supporting each ground, (e.g. what happened during the state proceedings that you contend
             resulted in a violation of the constitution, law or treaties of the United States.) If necessary,
             you may attach pages stating additional grounds and/or facts supporting each ground.
    i
                 (a) W1::______________________________________ ____



               Supporting FACTS: . JEOPARDIZED PETITIONER”S right to a fair trial,
                reliable determination of guilt and his ability to seek relief from the
                 judgment on appeal given the potential effects of the forfeiture rule,
                 Thus, counsel’s omissions deprived Sissac of his state and federal rights
                 to effective assistance of counsel because the performance "fell below
                an objective standard of reasonableness... Under prevailing professional
                norms." (Parle v. Runnels, supra, 505 F.3d 922,928, citing Donnelly v.
                DeChristoforo, Supra, 416 U.S. at p. 643, and Chambers v. Mississippi,
                 supra, 410 U.S. at p. 290, fn.3)

                 (United states v. Frederick (9th Cir. 1996) 78 F.3d 1370, 1381)
                 (Brecht v. Abrahamson (1993) 507 U.S. 619,637)____________
                 (Strickland v. Washington, supra, 466 U.S. at p. 687.)




              Did you raise GROUND One in the California Supreme Court?
!             □ Yes □ No.
                    If yes, answer the following:
                    (1)     Nature of proceeding (i.e., petition for review, habeas petition): _
:
                    (2)     Case number or citation:_______________________________
!
                    (3)     Result (attach a copy of the court’s opinion or order if available):




        CIV 6S (Rev Jan. 2006)
                                                               -6-                                    cv
Case 3:16-cv-02287-BAS-JLB Document 1 Filed 09/06/16 PageID.8 Page 8 of 29




      Court of Appeal, Fourth Appellate District, Division One - No. D064910

                                          S225613

       IN THE SUPREME COURT OF CALIFORNIA
                                      En Banc


                      THE PEOPLE, Plaintiff and Respondent,

                                            v.
                  DEMETRIUS SIS SAC, Defendant and Appellant.


     The petition for review is denied.                       SUPREME COURT


                                                                 JUN 1 0 2015

                                                            Frank A. McGuire Clerk
                                                                    Deputy




                                                        CANTIL-SAKAUYE
                                                         ChiefJustice




                                                                                     "X \
     Case 3:16-cv-02287-BAS-JLB Document 1 Filed 09/06/16 PageID.9 Page 9 of 29



        (b) fflTTOTTCT?:            OWSELWS MfflM RE FAHJN3 TD RENEW AT TRIAL HES M3KML
             CEJEmCNS' TD THE flMSSEN CF THE REFCKIED TEXT 1E5S«GES AS imJIHENIl(AIED, LACX3N3
             ACKjME RIMElffl, AND dNSTHUriNS 1MMCSSIELE HEARSAY IN Mi EVENT.
           Supporting FACTS: The prosecution made essentially no showing at all to
              authenticate or lay a foundation for the text messages purportedly
              exchanged between Devin and Sissac before Devin testified at length to
               the purported content of the messages and even read them directly into
              the record. (See 2RT 29-35; 4RT 444-459) The only evidence that the
                                                                                  pro­
              secution presented concerning the origin or authenticity of the messages
              content was the testimony of homicide detective Daniel Pearce put on long
              after Devin had left the witness stand - using "printouts" and "logs" of
              of cell phone data that Pearce had generated himself in preparation for
              trial. Pearce testified he did nothing more than use a software program to
              download and create records of the activity of the cell phones collected
            from Sissac, Devin and Glenn. (6RT 870-896.) The purported text messages

            were clearly hearsay. (Evidence Code, Section 1200, subd.(a) ["Hearsay" is
            evidence of a statement made outside the presence of the trier of fact
            which is introduced to prove the truth of the matter asserted]) specifi-
;
            cally, that Sissac had admitted or "adopted" the truth of Devin's assert-
i

i            ions that "this is crazy tf II I didn't even do shit," ' You need to be a man
             own up, Do the right thing," and the like. (4RT 456-459.) The statements
                    n if


             in the writing at issue must also pertain to "a matter as to which the
            witness has insufficient present recollection to enable him to testify
i
             fully and accurately" (Evid. Code, section 1237, Subd.(a) ), and there was

             never anv showing that Devin Lacked sufficient independent recollection(cont.)
i          Did you raise GROUND Two in the California Supreme Court?
           i/y es □ No.
!
                 If yes, answer the following:
                 (1)     Nature of proceeding (i.e., petition for review, habeas petition):. Petition For Fevisv
                 (2)     Case number or citation:                 S225613

                 (3)     Result (attach a copy of the court’s opinion or order if available): Denied


    CIV 68 (Rev. Jan. 2006)
                                                           -7-                                         cv
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   (b) GroundTwS:



       Supporting FACTS: of the text messages to testify about than without re­
       viewing the records presented. According to the prosecution, the purported
       text message exchanges between Devin and Sissac constituted "adoptive
       admissions. It II Evidence of a statement offered against a party is not made
       inadmissible by the hearsay rule if the statement is one of which the party
       with knowledge of the content thereof, has by words or other conduct
       manifested his adoption or his belief in its truth." (quoting Evid. Code
       Section 1221.) "If a person is accused of having committed a crime, under
       circumstances which fairly afford him an opportunity to hear, understand,
       and to reply and which do not lend themselves to an inference that he was
       relying on the right of silence guaranteed by the Fifth Amendment to the
       United States Constitution, and he fails to speak, or he makes an evasive
       or equivocation may be offered as an implied or adoptive admission of guilt."
       The purported statements in the text messages at issue were not direct
       accusations that Sissac had shot Hamrah, or committed any other specific
       crime. DEvin made no mention of the particular incident or conduct they
       were discussing, the place, date, or time that the incident or conduct had
       occurred. Devin referred to "this" or "this shit" to describe the subject
       of concern in telling Sissac "turn yourself in," "do the right thing," and
       pray." (4RT 456-459.) Sissac's purported responses can not be used as the
       missing link here either. The sum of what he supposedly said was: "I'ma call
       you later" after Devin said "turn yourself in" because "This shit is not (con:.)
      Did you raise GROUND Two in the California Supreme Court?
      □ Yes □ No.
            If yes, answer the following:
            (1)     Nature of proceeding (i.e., petition for review, habeas petition): _
            (2).    Case number or citation:_______________________________
            (3)     Result (attach a copy of the court’s opinion or order if available):


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                                                       -7-                                 cv
                Case 3:16-cv-02287-BAS-JLB Document 1 Filed 09/06/16 PageID.11 Page 11 of 29



                    (b) [Ground Twi3:




                       Supporting FACTS; going to be on my heart. it n I know" after Devin said
                        "this is way back." (4RT 456-459.) There's no showing in Sissac's
                         responses that he either understood these vague non-specific statements
            i
                         to mean Devin accused him of having shot Hamrah, or that he adopted the
                         statements as truth so to admit such conduct.



        !

        I




    i




:




                      Did you raise GROUND Two in the California Supreme Court?
                      □ Yes □ No.
!
                            If yes, answer the following;
                            (1)     Nature of proceeding (i.e., petition for review, habeas petition): _
                            (2)     Case number or citation:_______________________________
                            (3)     Result (attach a copy of the court’s opinion or order if available):


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        Court of Appeal, Fourth Appellate District, Division One - No. D064910

                                            S225613

         IN THE SUPREME COURT OF CALIFORNIA
                                        £n Banc


                        THE PEOPLE, Plaintiff and Respondent,

                                              v.

                    DEMETRIUS SISSAC, Defendant and Appellant.


       The petition for review is denied.                       SUPREME COURT


                                                                   JUN 1 0 2015

                                                              Frank A. McGuire Clerk
                                                                      Deputy




                                                          CANTIL-SAKAUYE
                                                           ChiefJustice




                                                                                       V \
                     Case 3:16-cv-02287-BAS-JLB Document 1 Filed 09/06/16 PageID.13 Page 13 of 29



             i         (0 imuWhMUIMatiil:            COUNSEL WAS INEFFECTIVE IN FAILING TO SPECIFICALLY
             ;               OBJECT TO THE EVIDENCE OF DELETED TEXT MESSAGES AND THE PHONE
            :
            !                   CALLS BETWEEN SISSAC AND RjQY.
            !
            ■'               Supporting FACTS: The admission of the various foundationless and unreli­
                               able purported records of cell phone activity led to prejudicially

                               erroneous errors; namely, the admission of the evidence that Sissac had
                               supposedly "deleted" the purported text messages between him and Devin
                                (6RT 888-889) and that Sissac and My had phone contact after the incid­
                                ent (6RT 793-794. 800-801,808-809,823-824,836-837).
                                Being; derived from the same purported records of cell phone activity,
                                the same basic problems persist: the prosecution failed to authenticate
                                the evidence,- and failed to lay an adequate foundation for it.
                                The evidence was inadmissible double hearsay because neither the purpor­
                               ted underlying records nor the statements purportedly contained within
                                them satisfied an exception to the hearsay rule (Lilly v. Virginia,
                                supra, 527 U.S. at p. 138) and the evidence should have been excluded in
        :                       any event given that whatever probative value it may have had was substan-
                                trally out weighed by the risk of undue prejudice of confusion of the
    r                           issues (Old Chief v. United States, supra, 519 U.S. at p. 180) The pre-
    ;
                                 judice admission of the underlying purported records of cell phone act­
                               ivity beget further prejudice in the admission of this additional evi-
                             dence, which consisted of extrapolations from and conclusions built dir-
    i
    !            ■
                             ectly upon those records. This violated Sissac's fundamental constitu-
    !
                             tional rights to due process, a fair trial, to confront and cross-examine
                             adverse witnesses and to a reliable determination of guilt. (Gxitinued)

                            Did you raise Ground Three in the California Supreme Court?
                            Sf’Yes □ No.
                                  If yes, answer the following:
i                                 (1)     Nature of proceeding (i.e., petition for review, habeas petition): Petition For Reviav
                                  (2)     Case number or citation:                   S225613

                                  (3)     Result (attach a copy of the court’s opinion or order if available):   Denied
I



                     CIV 68 (Rev, Jan. 2006)
                                                                             -8-                                      cv
                Case 3:16-cv-02287-BAS-JLB Document 1 Filed 09/06/16 PageID.14 Page 14 of 29



                  (c) [n;«nk'inHiimasi:
            :


         •!
          !i
                        Supporting FACTS:            (U.S. Oust., Amends. V, VI,VIII,XIV) Being allowed to
                        draw out unsupported extrapolations and conclusions from the purported cell
                        phone records gave the prosecution an unfair advantage in being able to
                        elicit Detective Pearce's opinion that - from his review of the "Print
                        Outs" and "Logs" that he himself produced in preparation for trial-Sissac
                        had actually deleted the text messages between him and Devin. In this
                        instance the prosecution not only becomes a benefactor of improper expert
                        opinion, but also helps oite the opinion as showing consciousness of guilt
                        by asserting that Sissac's supposed act of deleting the messages was his
                         attempt to "hide" evidence of his guilt. (8RT 1261,1368) Also, in relying
         I!
         !.              upon the purported cell phone records to question RQy about his alleged
                         phone contacts with Sissac after the incident (6RT 810-812,830-835), the
                         prosecutor took further unfair advantage of this unreliable evidence by
        I
     !                   suggesting that Roy was being untruthful in testifying that he did not
                         communicate with Sissac after the incident (see 6RT 793-794,800-801,808
    !'                   -809,823-824,836-837). Ray's credibility mattered to the defense because
                         the question of whether Sissac admitted to shooting Hamrah on the scene
    ;                    relied on who the jiury would believe: Devin and Glenn who claimed Sissac
    i

    :l                 made such statements or Roy/ who said he did not. The exacerbation, of the
                       prejudicial error in the admission of underlying purported cell phone
    ;
                       activity records through the testimony drawing out purported extrapolations
                       and conclusions from those records constitutes reversible error both (Con't)

                       Did you raise GROUND Three in the California Supreme Court?
                       □ Yes □ No.
                             If yes, answer the following:
!
I                            (1)     Nature of proceeding (i.e., petition for review, habeas petition): _
I
                             (2)     Case number or citation:___________________ ___________
                             (3)     Result (attach a copy of the court’s opinion or order if available):
:
;

                CIV 68 (Rev. Jan. 2006)
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              (0 Ground Three
        :


                    Supporting FACTS: independently and when viewed collectively with the
        i            other errors under the rubric of cumulative prejudice. (Parle v. Runnels,

                      supra,505 F. 3d at p. 928.)
                      Counsel initially objected to the underlying records on foundational and
                      hearsay grounds, he did not specifically object to the evidence of
                       Sissac's alleged message deletions' and the calls with Roy and thus' jeopar-
                    dized Sissac's rights to due process, a fair trial, to confront and cross
                     examine adverse witnesses, and to a reliable determination of guilt, as
                    well as Sissac's right to challenge the admission of this evidence on
                     appeal. Counsel's omissions constituted prejudicially ineffective assis­
                     tance of counsel given the "reasonable probability" that, but for counsel's
                     ineffectiveness in the handling of these evidentiary errors, the outcome
                     would have been more favorable to Sissac. (Strickland v. Washington, supra
                     466 U.S. at p. 687).


    r
    i




    !




                   Did you raise Ground Three in the California Supreme Court?
                   □ Yes □ No.
                         If yes,.answer the following:
!
I                        (1)     Nature of proceeding (i.e., petition for review, habeas petition): _
:
                         (2)     Case number or citation:__________ .____________________
                         (3)     Result (attach a copy of the court’s opinion or order if available):
:

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       Court of Appeal, Fourth Appellate District, Division One - No. D064910

                                           S225613

        IN THE SUPREME COURT OF CALIFORNIA
                                       En Banc


                       THE PEOPLE, Plaintiff and Respondent,

                                             v.
                   DEMETRIUS SIS SAC, Defendant and Appellant.


      The petition for review is denied.                       SUPREME COURT


                                                                  JUN 1 0 2015

                                                             Frank A. McGuire Clerk
                                                                     Deputy




                                                         CANTIL-SAKAUYE
                                                          ChiefJustice




                                                                                      x\
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          (d)     [Ground Fotiifl.      COUNSEL WAS INEFFECTIVE FOR"CONCEDING" THAT THE
                 STATEMENTS IN THE PRETEXT CALL WERE ADMISSIBLE AS "ADOPTIVE
                 ADMISSIONS"
                Supporting FACTS:           The one phone call between Devin and Sissac that was
                 admitted into trial was wrongly deemed as adoptive admissions. Before
    !            trial, trial counsel had argued that the statements in this call did not
                 constitute "true admissions." (2RT 46) However, the court found that there
                 was "some incriminating language in it." (2RT 79,80) Counsel agreed with
                  the court that the call contained "what could be deemed admissions."
                  (2RT 82) While this call was admitted, there were also two calls that

                 were excluded by the court. One pretext call made between Sissac and
                 Devin earlier on the day of the call that was admitted, and the other a
                  post-arrest jail call between Sissac and his mother. The court found
                  these phone calls irrelevant and precluded by Evidence Code section 352
                  to the extent the evidence may have been relevant. (2RT 45, 79-81,105-106)
                  The prosecutor had also sought to introduce the statements in these calls
!                 as "adoptive admissions" (2RT 80.) The court, however reasoned that
                  "there's no admissions in them," "there's nothing incriminating about
                 them," and "there's nothing in that call, one way or another, without a lot
                 of speculation, conjecture, it's ambiguous." (2RT 79,80.) The trouble on
                 appeal is the statements in these two calls were substantially similar
                 in content and context to the statements in the pretext call that the
                 court admitted, with counsel's agreement, on the basis that they were
                 "adoptive admissions," and thus they too should have been excluded for the
                                          . Both the admitted and excluded statements vaguely (Con1t)
                 very same reasons
                Did you raise Ground Four in the California Supreme Court?
                    G^Yes □ No.

                If yes, answer the following:
                     (1)     Nature of proceeding (i.e., petition, for review/habeas petition): Petition For Review
                     (2)     Case number or citation:                  §225613

                     (3)     Result (attach a copy of the court’s opinion or order if available):   Denied



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         (d)      Ground Foui
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               Supporting FACTS:           refer to "this" or "that" in describing the topic of

                 discussion in the conversations, leaving it simply unclear as to just
    i
                 what the participants in the conversations were discussing. Sissac should
                 not be .saddled with the effects of the forfeiture rule based on counsel's
                  failure to challenge this evidence. Given counsel's failure to challenge
                  this evidence. Given counsel's own recognition that the statements of this
                 very sort were not only inadmissible as irrelevant (1CT 101,125) but also
                  subject to preclusion under Evidence Code section 352 to the extent
                  they may have been relevant, there could have been no reasonable strat-
                  egic or tactical basis for ultimately "conceding" these statements were
                  admissible, (see Strickland v. Washington, supra 466 U.S. at p. 687[ the
                  representation is "deficient" when it "fell below an objective standard
:
                  of reasonableness under prevailing norms"].) This serious evidentiary
:                 error resulted in a violation of Sissac's fundamental constitutional
                  rights to due process, a fair trial, to confront and cross-examine
!
                  adverse witnesses, and to a reliable determination of guilt (U.S. Const.
                  Amends. V,VI,VIII, XIV). There exists a "reasonable probability of a
i                 better result that is "Sufficient to undermine confidence in the outcome"
i
                   (Strickland v. Washington, supra, 466 U.S. at p. 687).




               Did you raise GROUND FOUR in the California Supreme Court?
                     □ Yes □ No.
               If yes, answer the following:
                     (1)     Nature of proceeding (i.e., petition for review, habeas petition): _
                     (2)     Case number or citation: _______________________ ________
                     (3)     Result (attach a copy of the court’s opinion or order if available):


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        Court' of Appeal, Fourth Appellate District, Division One - No. D064910

                                           S225613

        IN THE SUPREME COURT OF CALIFORNIA
                                           En Banc


                       THE PEOPLE, Plaintiff and Respondent,

                                             v.

                   DEMETRIUS SISSAC, Defendant and Appellant.


      The petition for review is denied.                         SUPREME COURT


                                                                    JUN I 0 2015

                                                               Frank A. McGuire Clerk
                                                                       Deputy




                                                           CANTIL-SAKAUYE
                                                            ChiefJustice




                                                                                          ‘•-r-V



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     Case 3:16-cv-02287-BAS-JLB Document 1 Filed 09/06/16 PageID.20 Page 20 of 29



                                 FIVE
                                COUNSEL WAS INEFFECTIVE IN FAILING TO OBJECT
       (c)
!                TO THE IMPROPER LAY OPINIONS OF THE PROSECUTION'S PRIMARY

                 UTTNKSSES ON THE ULTIMATE FACTUAL AND LEGAL ISSUES.
                Supporting FACTS: The fundamental right to a jury trial as guaranteed
                 under the state and federal constitutions "at base, is the right to have
                 the jury decide the ultimate question of a defendant's guilt or innocence.
                (United States v. Gaudin, supra, 515 U.S. at p. 514) "This, then, was the
                historical guarantee of the Sixth Amendment: [the] right of criminal
                defendants to demand that the jury decide guilt or innocence on every____
                issue."(Gaudin, at p. 513.)" Taken together [with the right of due process]
                These rights indisputably entitle a criminal defendant to a jury deter-
                mination that [he] is guilty of every element of the crime with which it
I                is charged ^ beyond a. reasonable doubt. "(Apprendi v. New Jersey (2000)
                 530 U.S. 466,476-477, quoting Gaudin, at p. 510) And "the jury's constitu-
:
!i
                 tional responsibility is not merely to determine the facts, but to apply
!                the law to those facts and draw the ultimate conclusion of- guilt or inno-
                 cence." (Gaudin, at p. 514.) ["A consistent line of authority in Calif-
i       *        ornia as well as other jurisdictions holds a witness cannot express an
r           ■    opinion concerning the guilt or innocence of the defendant. ] United
                 States v. Lockett supra, 919 F. 2d at p. 590 ["A witness is not permitted
                 to give a direct opionion about the defendant's guilt or innocence. ];
!
■

                 United State v. Espinosa (9th Cir. 1987) 827 F. 2d 604,612.) Witnesses
!                May only testify to opinions that assist-the trier of fact, and opinions

                 on the ultimate question of guilt or innocence are necessarily of no such
                 assistance since they simply usurp the role of the jury.(United States (Cbnt.
                Did you raise Ground Three in the California Supreme Court?
                QfYes □ No.      •                                                                                   !

                    If yes, answer the following:
!                   (1)     Nature of proceeding (i.e., petition for review, habeas petition): Petition For Reviav
                    (2) ■ Case number or citation:              S225613
                    (3)     Result (attach a copy of the court’s opinion or order if available):   Denied


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             &9yOuM0 FIVE
      (c)

!



             Supporting FACTS:            v. Crawford, supra, 239 F.3d at p. 1090) In similar vein, a

             witness is not permitted to testify to a legal conclusion, to the meaning
             or definition of a legal term, or to the manor in which the law is to be
              applied to the facts. A lay witness may testify as to an ultimate issue of
              fact, so long as the testimony is otherwise admissible. [Citation.] The
              lav witness may not, however testify as to a legal conclusion, such as the
              corrpot interpretation of a contract.11].) United States v. Crawford, supra
              239 F. 3d at p. 1090.
                   Nevertheless, there very sort of improper opinions became part of
               this trial. Purina his testimony, DEvin was allowed to announce his opin­
!•
■
               ion that Haitrah was "innocent" in the situation, and that what Sissac had
i              done was "a sin," just wrong," and in fact "murder," which is why Devin
1              had"come forward" because he could not "live with," that.. (4RT 444-445,
!              473.) Glen was also permitted to testify that by having shot Hamrah
j     < •"    (according to Glenn's version of the ifacts). Sissac was responsible for
j-       .    "murdering" him. (5RT 656.) of course, claims that Hamrah was "innocent"

j              and that Sissac had committed ^Murder" purposted to be conclusion not
i

j              only on the ultimate question of whether Sissac was the perpetrator of
               the shooting.but also on the particular form of his alleged culpability.
               i.e., that it was "Murder" as opposed to-manslaughter. Further, in being
               permitted to testify that Sissac's alleged conduct constituted "Murder"
                the witnesses were also purpostedly redendering improper opinions on the (COT.)
             Did you raise GROUND Three in the California Supreme Court?
             □ Yes □ No.
                   If yes, answer the following:
!                  (1)     Nature of proceeding (i.e., petition for review, habeas petition): _
                   (2)     Case number or citation: _____________________________
                   (3)     Result (attach a copy of the court’s opinion or order if available):


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                 GROUND FXVE
         (d)


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               Supporting FACTS: definition or meaning of this specific legal term and
                 how that term should be applied to the facts as the witnesses had relayed
    !            them.        Trial counsel's failure to object to this testimony as improper
                 opinions constituted ineffective assistance of counsel. Accordingly, it
                 would be inappropriate to hold Sissac accountable for counsel's oromission.
    :             (see Coleman v. Thompson (1991) 501 U.S. 722, 754[the forfeiture rule does
               not apply to omissions resulting from ineffective assistance of counsel].)
               This improper intrusion upon the province of the jury to decide the ulti­
                mate questions in the case based upon the law as defined by the court re­
                sulted in a violation of Sissac's fundamental right to effective assistance
                counsels and in turn his fundamental jury trial rights that counsel's in­
                effectiveness placed in jeopardy (United States v. Gaudin, supra, 515 U.S.
;
                at p. 514). Given the weakness of the independent evidence of guilt (much
:
                of which was itself erroneously admitted, as discussed), both individually
                and in combination with the other prejudicial evidentiary errors, reversal
                is required given the "reasonable probability" of a better result that is
i               sufficient to undermine confidence in the outcome" [Strickland v. Washing-
;               ton, supra 466 U.S. at p. 687).




               Did you raise Ground FOUR in the California Supreme Court?
                     □ Yes □ No.
               If yes, answer the following:
                     (1)     Nature of proceeding (i.e., petition for review, habeas petition): _
                     (2)     Case number or citation:___________ ___________________
                     (3)     Result (attach a copy of the court’s opinion or order if available):



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        Court of Appeal, Fourth Appellate District, Division One - No. D064910

                                           S225613

        IN THE SUPREME COURT OF CALIFORNIA
                                       En Banc


                       THE PEOPLE, Plaintiff and Respondent,

                                             v.
                   DEMETRIUS SIS SAC, Defendant and Appellant.


      The petition for review is denied.                        SUPREME COURT


                                                                   JUN 1 0 2015

                                                              Frank A. McGuire Clerk
                                                                      Deputy




                                                          CANTIL-SAKAUYE
                                                           ChiefJustice




                                                                                  -'V'"'
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    I    23. Do you have any petition or appeal now pending in any court, either state or federal, pertain­
             ing to the judgment under attack?
    !          □ Yes ® No


         24. If your answer to #23 is “Yes,” give the following information:
                 (a) Name of Court:________________________________
                 (b) Case Number:____
                 (c) Date action filed:_______________
                (d) Nature of proceeding:___________________________
I

                (e) Name(s) of judges (if known):
i

                (f) Grounds raised:___________


;
!
[




                (g) Did you receive an evidentiary hearing on your petition, application or motion?
                    □ Yes DNo


1

1
         25. Give the name and address, if known, of each attorney who represented you in the following
             stages of the judgment attacked herein:
i
               (a) At preliminary hearing:_______ Bethany Ulch


                (b) At arraignment and plea:           Bethany Ulch

                (c) At trial: Timothy E. Campen 2720 5th Ave. Suite I, San Diego, CA 92103
i

                .(d) At sentencing: -Timothy E.Campen 2520 5th Ave. Suite I


                (e) On appeal: Raymond M. Edgj-d^pe, P.O. Box 10790, Southport, NO 28461
:               (f) In any post-conviction proceeding: Baymxct M. DiQjiseppe, P.0. Box 10790, Southport,
I                    ISC 28461
;               (g) On appeal from any adverse ruling in a post-conviction proceeding: t&yrond M.
!                    Djguisqppe, P.O. Box 10790, Southport, ISC 28461    ___________________


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             26. Were you sentenced on more than one count of an indictment, or on more than one
                 indictment, in the same court and at the same time?
                 □ Yes HNo
        i



             27. Do you have any future sentence to serve after you complete the sentence imposed by the
        i
                 judgment under attack?
                 □ Yes 0 No
        I             (a) If so, give name and location of court that imposed sentence to be served in the future:


                     (b) Give date and length of the future sentence:

        i
                     (c) Have you filed, or do you contemplate filing, any petition attacking the judgment which
•       i                imposed the sentence to be served in the future?
                         □ Yes □ No


             28. Consent to Magistrate Judge Jurisdiction

        ]       In order to insure the just, speedy and inexpensive determination of Section 2254 habeas cases filed
              in this district, the parties may waive their right to proceed before a district judge and consent to
             magistrate judge jurisdiction. Upon consent of all the parties under 28 U.S.C. § 636(c) to such
             jurisdiction, the magistrate judge will conduct all proceedings including the entry of final judgment.
        ;    The parties are free to withhold consent without adverse substantive consequences.
        !
                The Court encourages parties to consent to a magistrate judge as it will likely result in an earlier
             resolution of this matter. If you request that a district judge be designated to decide dispositive
             matters, a magistrate judge will nevertheless hear and decide all non-dispositive matters and will hear
             and issue a recommendation to the district judge as to all dispositive matters.

        i       You may consent to have a magistrate judge conduct any and all further proceedings in this case,
        I    including the entry of final judgment, by indicating your consent below.

        |    Choose only one of the following:
        j


               0       Plaintiff consents to magistrate     OR          Q   Plaintiff requests that a district judge
                      j udge j urisdiction as set forth                     be designated to decide dispositive
                       above.                                               matters and trial in this case.




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                           29. Date you are mailing (or handing to a correctional officer) this Petition to this court:
                                            OS /3l i\L


                           Wherefore, Petitioner prays that the Court grant Petitioner relief to which-he may be entitled in this
                           proceeding.



                     !
                     :
                                                                                   Signature of Attorney (if any)
                 ;



                           I declare under penalty of perjury that the foregoing is true-and correct. Executed on

                 !
                               oft h, i lu
                                                (Date)                                 Signature of Petitioner

                                   u-




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    —I*.



                                                     VERIFICATION

                . STATE OF CALIFORNIA
                  COUNTY OF IMPERIAL
                                           (C.C.F. SEC.446 & 201.5; 28 U.S.C. SEC. 1746)
                        I. P^A'Ye-.Vc-xtAS
                                                                  ____ DECLARE UNDER PENALTY OF PERJURY
                 THAT: I AM THE PpA- \ -V-i P'A.g.if              IN THE ABOVE ENTITLED ACTION;
                 I HAVE READ THE FOREGOING DOCUMENTS AND KNOW THE CONTENTS THEREOF AND THE SAME IS
                 TRUE OF MY OWN KNOWLEDGE. EXCEPT AS TO MATTERS STATED THEREIN UPON INFORMATION, AND
                 BELIEF, AND AS TO THOSE MATTERS, I BELIEVE THEM TO BE TRUE.


                  EXECUTED THIS       31 Va            DAY OF;                si          20 l &   AT CALIPATRIA
                  STATE PRISON, CALIP ATRIA. CALIFORNIA #92233-5002


                                                           (SIGNATURE)
                                                                                   (DECLARANTIPRISONER)


                                               PROOF OF SERVICE BY MAIL
                                      (C.C.P. SEC.1013 (a) & 2015.5; 28 U.S.C. SEC.1746)
                          I, \)e,v*veAcMAS       Swscu.   AM A RESIDENT OF CALIP ATRIA STATE PRISON, IN THE COUNTY
                 OF IMPERIAL, STATE OF CALIFORNIA. I AM OVER THE AGE OF EIGHTEEN (IS) YEARS OF AGE AND AM / NOT •
                 A PARTY OF THE ABOVE-ENTITLED ACTION. MY STATE PRISON ADDRESS IS: P.O. BOX 5002.
                 CALIP ATRIA, CALIFORNIA #92233-5002.



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                            ON   m 1^\\A <xV> g-<X 20S l &£-0. ICSERVED THE FOREGOING: OfAcxtA < \       a   Co

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                                        (SET FORTH EXACT TITLE OF DOCUMENTS SERVED)                ■
                 ON THE PARTY (S) HEREIN BY PLACING A TRUE COPY (S) THEREOF, ENCLOSED IN A SEALED ENVELOPE (S)„
                 WITH POSTAGE THEREON FULLY PAID. IN THE UNITED STATES MAIL. IN A DEPOSIT BOX SO PROVIDED •
                 AT CALIP ATRIA STATE PRISON. CALIP ATRIA. CALIFORNIA #92233-5002.

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                 THERE IS DELIVERY SERVICE BY UNITED STATES MAIL AT THE PLACE SO ADDRESSED, AND THERE IS
                 REGULAR COMMUNICATION BY MAIL BETWEEN THE PLACE OF MAILING AND THE PLACE SO ADDRESSED.
                          I DECLARE UNDER PENALTY OF PERJURY THATTHE FOREGOING IS TRUE AND CORRECT.
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                • DATE:             /I 6
                                                                                    (DECLARANTIPRISONER)
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